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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,

            Plaintiff,

            v.                                            Case No. 20-20003-01-JAR

 JAWAN L. ROBINSON,

            Defendant.


                                               ORDER

       The status conference in this matter will be held telephonically on June 22, 2020 at 9:00

a.m. Counsel and parties are directed to call the Court’s conference line; the call-in number and

password will be provided to counsel and/or parties before the hearing date. If defendant waives

appearance, Counsel must provide a waiver form signed by defendant or signed by counsel with

defendant’s authority, prior to the hearing.

       If the defendant is unable to appear by phone and is not willing to waive appearance,

Counsel or pro se defendant must file a motion, no later than three days before the scheduled

hearing requesting a hearing by videoconference. Upon such motion, the Court will conduct the

hearing by videoconference at the scheduled time or at a later and date and time subject to

videoconference availability, finding the period of postponement excludable under the Speedy

Trial Act pursuant to Administrative Order 2020-10.

       If the defendant does not consent to hearing by teleconference or videoconference,

Counsel or pro se defendant must file a motion to continue the hearing. The Court will continue

the hearing, finding the period of postponement excludable under the Speedy Trial Act pursuant

to Administrative Order 2020-10.

       IT IS SO ORDERED.
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Dated: June 17, 2020
                              S/ Julie A. Robinson
                             JULIE A. ROBINSON
                             CHIEF UNITED STATES DISTRICT JUDGE
